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                                      UNITED STATES BANKRUPTCY COURT

                                          DISTRICT OF SOUTH CAROLINA

IN RE: BERNARD C. LYLES                                 CASE NO: 13-03204

                             DEBTOR(S)                  CHAPTER 13



Address: 13 Trotwood Dr., Columbia SC 29209              MOTION TO MODIFY PLAN AFTER CONFIRMATION
                                                               AND OPPORTUNITY FOR HEARING


Last four digits of Social-Security: xx 0133

       The Court has confirmed a chapter 13 plan in this case. The debtor(s) move, pursuant to 11 U.S.C. § 1329(a), and
Fed. R. Bankr. P. 3015(h), to modify the confirmed plan. A copy of the plan with these modifications included is
attached.

       TAKE NOTICE that any response, return, and/or objection to this motion should be filed with the Court no later
than 21 days after the service of the modified chapter 13 plan, as computed under Fed. R. Bankr. P. 9006(a), on the
chapter 13 trustee, the debtor(s), and any attorney for the debtor(s).

        TAKE FURTHER NOTICE that no hearing will be held on this motion, except at the direction of the judge,
unless a response, return, and/or objection is timely filed and served, in which case the Court will conduct a hearing on
January 24, 2019 at 9:00 a.m., at United States Bankruptcy County, 1100 Laurel Street, Columbia, South Carolina
29201. No further notice of this hearing will be given.


Date: 12/13/2018                                                         /s/ Jason T. Moss

                                                                         Jason T. Moss
                                                                         Moss & Associates, Attorneys P.A.
                                                                         816 Elmwood Avenue
                                                                         Columbia, SC 29201
                                                                         District Court I.D. #7240
                                                                         Attorney for the Debtor
                                                                         (803)933-0202
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                                                     EXHIBIT A TO SC LBR 3015-1

                                               UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF SOUTH CAROLINA

IN RE:                                                                          CASE NO: 13-03204
DEBTOR(S)                                                                       CHAPTER: 13

BERNARD C. LYLES                                                               NOTICE, AMENDED CHAPTER 13 PLAN,
                                                                               MOTIONS TO VALUE SECURITY, AVOID
                                                                               JUDICIAL LIEN, AVOID A NONPURCHASE-
                                                                               MONEY, NONPOSSESSORY
                                                                               NONPOSSESSORY SECURITY
                                                                               INTEREST AND LIEN, AND/OR TO ASSUME
                                                     DEBTOR(S)                 OR REJECT AN EXECUTORY
                                                                               CONTRACT/UNEXPIRED LEASE

I. NOTICE TO CREDITORS AND PARTIES IN INTEREST: The debtor1 has filed a chapter 13
bankruptcy case and listed you as a creditor or interested party. The debtor has filed the following chapter
13 plan and motions which may affect your rights. Failure to object may constitute an implied
acceptance of and consent to the relief requested in this document.

          A. ADDITIONS, MODIFICATIONS, OR DELETIONS: All additions or modifications to the
Court’s form plan (See exhibits to SC LBR 3015-1 and 3015-2, “SC LBR” refers to the SC Local
Bankruptcy Rules, available at www.scb.uscourts.gov) are highlighted by italics. Deletions are noted as
“Not Applicable” or by striking through the deleted provisions. If changes are substantial or if an
alternative plan is proposed, a cover sheet that summarizes and identifies the changes shall be filed and
served herewith.

II. MOTION TO VALUE SECURITY, AVOID JUDICIAL LIEN, AVOID A
NONPURCHASEMONEY, NONPOSSESSORY SECURITY INTEREST AND LIEN, AND/OR TO
ASSUME OR REJECT AN EXECUTORY CONTRACT/UNEXPIRED LEASE. The debtor requests
that confirmation of this plan alter the rights of the following creditor:




            1     When used herein, the term “debtor” shall apply as applicable either in the singular or in the plural, if there are joint debtors in
the case.
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          A. Nonpossessory, Nonpurchase-Money Lien: The debtor moves, pursuant to 11 U.S.C.
 § 522(f), to avoid the following nonpossessory, nonpurchase-money security interest and lien in household
 goods:


  Name of          Value of            Total of            Exemption             Estimated          Security interest         Security interest to
  creditor         Debtor’s            all other           claimed               security           Not avoided               be avoided
  and              interest in         liens                                     interest/debt      (see IV(B)(4) below)      (see IV(E) below)
  description      property
  of
  property
  securing
  lien

  FRIENDLY         3,500.00            UNKNOWN             3,500.00              810.00             0.00                      FULL BALANCE
  FINANCE                                                                                                                     OWED
  (HOUSEHOLD
  GOODS)

           B. Judicial Lien: The debtor moves, pursuant to 11 U.S.C. § 522(f), to avoid the following
 judicial lien:2
  Name of creditor and Total Equity (Value of Debtors               Applicable      Non-exempt Estimated             Judicial lien   Judicial lien
  description of         debtors property less Equity      (Total   Exemption       Equity          judicial lien    not avoided     avoided
  property securing lien senior/ unavoidable equity multiplied      and Code        (Debtors equity
                         liens)                by debtors           Section         less
                                               proportional                         exemption)
                                               interest in
                                               property)
  -NONE-


          C. Valuation of Security: The debtor moves, in accordance with 11 U.S.C. § 506, to establish the
 value of a lien as follows:

  Name of creditor and            Value of               Holder and amount of             Estimate of       Value of lien       Unsecured claim
  description of property         Debtor’s interest      superior liens                   creditor’s        (see                after valuation
  securing lien                   in property                                             claim             IV(B)(4)            (see IV(E) below)
                                                                                                            below)
  -NONE-


          D. Assumption or Rejection of Executory Contract/Unexpired Lease: The debtor moves for the
 assumption of the following executory contract and/or unexpired lease. The debtor agrees to abide by all
 terms of the agreement and to cure any pre-petition arrearage or default in the manner below. Any
 executory contract or unexpired lease not specifically mentioned is rejected.

  Name of Creditor and lease       Amount of          Estimated              Cure Provisions for any                Regular payments to be paid
  or contract to be assumed        regular            amount of              default paid by (Debtor or             by Debtor directly to
                                   payment            Default                trustee)                               creditor beginning
                                                      (state if none)                                               (month/year)
  -NONE-


 III. THE CHAPTER 13 PLAN: PAYMENT OBLIGATIONS OF THE DEBTOR.

          A. Payments from the debtor to the chapter 13 trustee (the “trustee”): The debtor submits to the
 supervision and control of the trustee all or such portion of future earnings or other future income as is
 necessary for the execution of the plan. In addition, the debtor will pay to the trustee any portion of a
 recovery under a pre-petition claim or cause of action that constitutes disposable income or is not exempt.

         The debtor shall pay to the trustee the sum of $ 587 per month for 8 months followed by $ 645 per month for
 52 months, unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan.



           2          For co-owned property, see In re Ware, 274 B.R. 206 (Bankr. D.S.C. 2001) and Exhibit C to SC LBR 4003-2.
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          B. Payments from the debtor directly to creditors: The debtor shall pay all post-petition priority
 obligations, including but not limited to taxes and post-petition domestic support, and pay regular payments
 on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due,
 unless otherwise ordered by the Court. The debtor may be required to pay some or a portion of pre-petition
 debts directly to a creditor in addition to required payments to the trustee, as indicated in paragraph II(D)
 above and/or in the paragraphs that follow.


 IV. PLAN DISTRIBUTIONS TO CREDITORS. To receive a distribution from the trustee, a proof of
 claim, including adequate supporting documentation, must be filed with the Court. If a claim designated in
 this plan as secured is filed as an unsecured claim and the plan is confirmed, the claim may be treated as
 unsecured for purposes of plan distributions by the trustee. If a creditor files a proof of claim alleging that
 the claim is secured, but does not timely object to the confirmation of the plan and the claim is treated as
 unsecured in a confirmed plan, the claim may be treated as unsecured for purposes of plan distributions by
 the trustee. Confirmation of this plan does not bar a party in interest from objecting to a claim. The
 trustee, after the deduction of the trustee's commission and expenses, or the debtor, as indicated, shall make
 payment as follows:

                    A. Attorney for the debtor:

                    1. The debtor and the debtor’s attorney have agreed to an attorney’s fee in the amount of
          $3,000 for the services identified in the Rule 2016(b) disclosure statement filed in this case. The
          amount of $419 was paid prior to the filing of the case. The remaining fee shall be disbursed by
          the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise,
          the trustee shall disburse $1,000.00 to the attorney from the initial disbursement. 3 Thereafter, the
          balance of the attorney’s compensation as allowed by the Court shall be paid, to the extent then
          due, with all funds remaining each month after payment of allowed secured claims and pre-
          petition arrearages on domestic support obligations. In instances where an attorney assumes
          representation in a pending pro se case and a plan is confirmed, a separate order may be entered
          by the Court, without further notice, which allows for the payment of a portion of the attorney’s
          fees in advance of payments to creditors.

                    2. If, as an alternative to the above treatment, the debtor’s attorney has received a
          retainer and cost advance and agreed to file fee applications for compensation and expenses in this
          case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held in trust until fees and
          expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney
          has received $______ and for plan confirmation purposes only, the fees and expenses of counsel
          are estimated at $_______ or less.

                    B. Secured Creditor Claims: The plan treats secured claims as follows:

                    1. General Provisions: The terms of the debtor’s pre-petition agreement with a secured
          creditor shall continue to apply except as modified by this plan, the order confirming the plan, or
          other order of the Court. Holders of secured claims shall retain liens to the extent provided by 11
          U.S.C. § 1325(a)(5)(B)(i). Secured creditors paid the full secured claim provided for by this plan
          shall timely satisfy any liens in the manner required by applicable law or order of this Court. Any
          creditor holding a claim secured by property that is removed from the protection of the automatic
          stay by order, surrender, or through operation of the plan will receive no further distribution from
          the chapter 13 trustee on account of any secured claim. This also applies to creditors who may
          claim an interest in, or lien on, property that is removed from the protection of the automatic stay
          by another lienholder or released to another lienholder, unless the Court orders otherwise. Any
          funds that would have been paid to any such creditor will be distributed according to the
          remaining terms of the plan. (The preceding language does not apply if the sole reason for its
          application arises under 11 U.S.C. § 362(c)(3) or (c)(4)). Any creditor affected by this provision
          may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the
          removal of the property from the protection of the automatic stay. Secured creditors that will be
          paid directly by the debtor may send standard payment and escrow notices, payment coupons, or
          inquiries about insurance, and such action will not be considered a violation of the automatic stay.



          3          The chapter 13 trustee shall not at any time disburse to the debtor’s attorney more than: (a) the unpaid
 balance of (1) the fee to be paid under the plan pursuant to paragraph 1 herein, or (2) the fee previously applied for and
 authorized pursuant to paragraph 2 herein, plus (b) any supplemental fee then applied for and authorized under the terms of
 the applicable Procedures for Approval of Attorney’s Fees in Chapter 13 Cases.
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                  2. Long-term or mortgage debt. No default: The debtor is current on obligations to
                        and will continue regular payments directly to that creditor. description of collateral:

                  3. Long term or mortgage debt. Curing default: 11 U.S.C. 1322(b)(3) and/or (5):
                           a. Arrearage payments. The trustee shall pay the arrearage as stated in the
                  creditor’s allowed claim or as otherwise ordered by the Court to                   at the rate of $
                  or more per month, for              , along with       % interest. The creditor shall apply trustee
                  payments solely to those designated arrearages, i.e., those arrearages accruing before the month
                  specified in (b) below. For so long as the debtor complies with this plan, a creditor may not declare a
                  default based on any payment delinquency to be cured by this paragraph and the creditor shall not
                  impose any post-petition fee on account of any arrearage paid by the trustee.

                           b. Maintenance of regular non-arrearage payments. Beginning                ,
                  the Debtor shall pay directly to the creditor non-arrearage payments arising under the
                  agreement with the secured creditor. The creditor shall apply each payment under this
                  paragraph solely to post-petition obligations that accrue during or after the month
                  specified herein.

                  4. Secured portion of claims altered by valuation and lien avoidance: The trustee shall
         pay                  the sum of $           or more per month, along with        % interest until the secured
         claim of $       established above is paid in full. The remaining portion of the allowed claim will be treated
         as a general unsecured claim.

                  5. Other secured debts (allowed claim to be paid in full without valuation or avoidance of
         lien): The trustee shall pay     TITLEMAX         the sum of $     13.00      or more per month, along with
         5.25% interest until the allowed secured claim is paid in full.

                  6. Surrender of property: The debtor will surrender the following property upon
         confirmation of the plan. The order confirming plan shall terminate the automatic stay as to that
         property: RESIDENTIAL CREDIT SOLUTIONS/MTGLQ INVESTORS, LP - 13 TROTWOOD DR.,
         COLUMBIA SC 29209 Any creditor affected by this provision may file an itemized proof of claim for any
         unsecured deficiency within a reasonable time after the surrender of the property.

                  7. Secured tax debt: The trustee shall pay            the sum of $         or more per month until the
         net balance/value of creditor’s secured claim plus               % interest has been paid. If the lien is to be
         valued, the debtor shall file a separate motion to value the claim and establish priority of any remaining tax
         obligations. If a tax priority creditor files a claim designated as secured, is not treated as secured in this
         paragraph, and does not timely object to confirmation of this plan, then the claim may be paid as a priority
         claim for purposes of distributions from the trustee.

                  C. Priority Creditors: Priority claims shall be paid as follows:

                  1. Domestic Support Claims. 11 U.S.C. § 507(a)(1):
                           a. Pre-petition arrearages. The trustee shall pay the pre-petition domestic support
                  obligation arrearage to                 , at the rate of $    or more per month until the
                  balance,without interest, is paid in full.

                           b. The debtor shall pay all post-petition domestic support obligations as defined
                  in 11 U.S.C. § 101(14A) on a timely basis directly to the creditor.

                           c. Any party entitled to collect child support or alimony under applicable non-
                  bankruptcy law may collect those obligations coming due after this case was filed from
                  the income or assets of the debtor-parent/spouse without further order or relief from the
                  automatic stay. (Any claim for child support or alimony due before this case was filed must be
                  collected in accordance with 11 U.S.C. § 507(a)(1) and 11 U.S.C. §1322(a)(2).)


                   2. Other Priority debt. The trustee shall pay all remaining pre-petition 11 U.S.C. § 507
         priority claims on a pro rata basis.

          D. Executory Contracts and Unexpired Leases: Regular payments that arise post-petition under an
 executory contract or lease that is being assumed shall be paid directly by the debtor according to the terms
 of the contract or lease. Pre-petition defaults will be cured by payments of the sum of $         or more per month
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 by the trustee or the debtor according to paragraph II(D). Claims arising from the rejection of executory contracts or
 leases shall be general unsecured claims unless otherwise ordered by the Court.

          E. General Unsecured Creditors: General unsecured creditors shall be paid allowed claims pro
 rata by the trustee to the extent that funds are available after payment of all other allowed claims. The
 debtor does not propose to pay 100% of general unsecured claims.

 V. PROPERTY OF THE ESTATE, STATUS AND OBLIGATIONS OF THE DEBTOR AFTER
 CONFIRMATION: Upon confirmation of the plan, property of the estate will remain property of the
 estate, but possession of property of the estate shall remain with the debtor. The chapter 13 trustee shall
 have no responsibility regarding the use or maintenance of property of the estate. The debtor is responsible
 for protecting the non-exempt value of all property of the estate and for protecting the estate from any
 liability resulting from operation of a business by the debtor. Nothing herein is intended to waive or affect
 adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by the
 debtor.




 Date: 12/13/18                                                       BY:/s/ JASON T. MOSS
                                                                         JASON T. MOSS
                                                                         Moss & Associates, Attorneys P.A.
                                                                         816 Elmwood Avenue
                                                                         Columbia SC 29201
                                                                         (803)933-0202
                                                                         District Court I.D. #7240
                                                                         Attorney for the Debtor
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                                     UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF SOUTH CAROLINA

 IN RE: BERNARD C. LYLES                                 CASE NO: 13-03204
                                                         CHAPTER: 13

                                                         DEBTOR’S STATEMENT
                                                         IN SUPPORT OF CONFIRMATION



                                             DEBTOR(S)

         In connection with the plan dated    12/13/18     the debtor(s) hereby state that they understand the
 following:

         (1) The obligations set forth in the plan, including the amount, method, and timing of payments made to the
             trustee and/or directly to creditors;

         (2) The consequences of any default under the plan including the direct payments to creditors; and

         (3) That debtor(s) may not agree to sell property, or sell property, employ professionals, or incur debt
             (including modification of debt) during the term of the plan without the advance authorization of the
             Bankruptcy Court.


 Date    12/13/18                                     /s/ Bernard C. Lyles
                                                      Debtor
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                                     DISTRICT OF SOUTH CAROLINA

 IN RE: BERNARD C. LYLES                            CASE NO: 13-03204
                                                    CHAPTER: 13

                                        DEBTOR(S)

                                                    CERTIFICATE OF SERVICE

       THE UNDERSIGNED HEREBY CERTIFIES THAT HE/SHE HAS PROPERLY SERVED THE MODIFIED
 PLAN AND MOTION TO MODIFY TO ALL CREDITORS VIA REGULAR MAIL, POSTAGE PREPAID.


 William K. Stephenson, Jr.
 Chapter 13 Trustee
 Electronic Service Only

 See Attached List




 Date: 12/14/18                                        /s/ Cameron Pruitt
                                                       Bankruptcy Paralegal
                                                       Moss & Associates Attorneys PA
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Label Matrix for local noticing            AMCOL SYSTEMS                        ATTORNEY GENERAL OF UNITED STATES
0420-3                                     PO BOX 21625                         950 PENNSYLVANIA AVE, NW
Case 13-03204-jw                           Columbia SC 29221-1625               Washington DC 20530-0001
District of South Carolina
Columbia
Thu Dec 13 15:25:48 EST 2018
John Douglas Barnett                       CAPITAL ACCOUNTS LLC                 (p)PROFESSIONAL RECOVERY CONSULTANTS INC
U.S. Attorney’s Office                     PO BOX 140065                        2700 MERIDIAN PARKWAY
1441 Main St #500                          Nashville TN 37214-0065              SUITE 200
Columbia, SC 29201-2862                                                         DURHAM NC 27713-2450


FRIENDLY FINANCE                           HARVARD COLLECTION SERVICES          Christina R. Hunoval
PO BOX 3146                                4839 N. ELSTON AVE                   The Hunoval Law Firm PLLC
Spartanburg SC 29304-3146                  Chicago IL 60630-2589                501 Minuet Lane, Suite 104A
                                                                                Charlotte, NC 28217-2710


IRS                                        IRS - US Attorney                    Louise m. Johnson
PO BOX 7346                                J. Douglas Barnett, AUSA             Riley Pope & Laney, LLC
Philadelphia PA 19101-7346                 1441 Main Street                     2838 Devine Street
                                           Suite 500                            Columbia, SC 29205-2508
                                           Columbia, SC 29201-2897

Bernard C. Lyles                           MOSS & ASSOCIATES, ATTORNEYS, P.A.   MTGLQ Investors, L.P.
13 Trotwood Dr                             816 ELMWOOD AVENUE                   c/o Ocwen Loan Svc, LLC
Columbia, SC 29209-4813                    Columbia SC 29201-2027               POB 24605
                                                                                West Palm Beach, FL 33416-4605


MTGLQ Investors, LP                        Jason T. Moss                        Ocwen Loan Servicing, LLC
c/o Rushmore Loan Management               Moss & Associates, Attorneys, P.A.   Attn: Bankruptcy Department
15480 Laguna Canyon Rd Ste 100             816 Elmwood Avenue                   P.O. BOX 24605
Irvine CA 92618-2132                       Columbia, SC 29201-2027              West Palm Beach, FL 33416-4605


T. Lowndes Pope                            RESIDENTIAL CREDIT SOLUTION          RESIDENTIAL CREDIT SOLUTIONS
Riley Pope and Laney, LLC                  350 S. GRAND AVE 47th FL             PO BOX 163349
Post Office Box 11412                      Los Angeles CA 90071-3406            Fort Worth TX 76161-3349
Columbia, SC 29211-1412


RICHLAND COUNTY                            Residential Credit Solutions         SC DEPT OF REVENUE
PO BOX 11947                               PO Box 163229                        PO BOX 12265
Columbia SC 29211-1947                     Ft Worth, TX 76161-3229              Columbia SC 29211-2265



SFC-Central Bankruptcy                     William K. Stephenson Jr.            (p)TMX FINANCE LLC FORMERLY TITLEMAX
P.O. Box 1893                              PO Box 8477                          15 BULL STREET
Spartanburg, S.C. 29304-1893               Columbia, SC 29202-8477              SUITE 200
                                                                                SAVANNAH GA 31401-2686


US Trustee’s Office                        US ATTORNEY’S OFFICE                 WESTON ADAMS LAW FIRM
Strom Thurmond Federal Building            ATTN DOUG BARNETT                    1501 RICHLAND ST
1835 Assembly Street                       1441 MAIN ST STE 500                 Columbia SC 29201-2609
Suite 953                                  Columbia SC 29201-2862
Columbia, SC 29201-2448
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CREDIT FINANCIAL SERVICES, INC                       TITLEMAX                                             (d)TitleMax of South Carolina, INC. d/b/a Tit
3800 Guess Road                                      7354 GARNERS FERRY RD                                15 Bull Street, Suite 200
Durham NC 27701                                      Columbia SC 29209                                    Savannah, GA 31401




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)MTGLQ Investors LP                                (u)Rushmore Management Services as servicer f        End of Label Matrix
                                                                                                          Mailable recipients   29
                                                                                                          Bypassed recipients    2
                                                                                                          Total                 31
